                      Case 2:20-cv-05410-JAK-AFM Document 1 Filed 06/18/20 Page 1 of 10 Page ID #:1



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                     4    Telephone: 949.705.3000
                          Fax No.: 949.724.1201
                     5
                          Attorneys for Defendants
                     6    MODA OPERANDI, INC.
                     7

                     8
                                                 UNITED STATES DISTRICT COURT
                     9
                                               CENTRAL DISTRICT OF CALIFORNIA
                   10

                   11     RACHEL BOWENS, an individual,            Case No.
                   12                    Plaintiff,                NOTICE OF REMOVAL OF CIVIL
                   13
                                                                   ACTION FROM LOS ANGELES
                                v.                                 COUNTY SUPERIOR COURT
                   14
                                                                   PURSUANT TO 28 U.S.C.
                          MODA OPERANDI, INC., an entity           SECTIONS 1332(A)(1), 1441, AND
                   15
                          form unknown; KATHERINE                  1446 [DIVERSITY JURISDICTION]
                          DONNER, an individual; and DOES
                   16
                          1 through 100, inclusive,                [LASC Case No. 20STCV17265]

                   17
                                          Defendants.
                                                                   Complaint Filed: May 6, 2020
                   18

                   19

                   20

                   21
                          TO THE CLERK OF THE ABOVE-ENTITLED COURT, PLAINTIFF RACHEL
                   22
                          BOWENS AND PLAINTIFF’S ATTORNEYS OF RECORD:
                   23

                   24
                                PLEASE TAKE NOTICE that Defendant MODA OPERANDI, INC.
                   25
                          (“Defendant   Moda”)        hereby   removes   the   above-entitled   action,   Case
                   26
                          No. 20STCV17265, from the Superior Court of the State of California, County of Los
                   27

                   28
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                     1    Angeles, to the United States District Court for the Central District of California,
                     2    pursuant to 28 U.S.C. sections 1332, 1441 and 1446.
                     3          This Notice is based upon the original jurisdiction of the federal district court
                     4    over the parties under 28 U.S.C. section 1332 (“Section 1332”) based upon complete
                     5    diversity of citizenship.
                     6          Defendant makes the following allegations in support of its Notice of Removal:
                     7
                     8                            JURISDICTION [LOCAL RULE 8-1]
                     9          1.     This Court has original jurisdiction under 28 U.S.C. section 1332(a)(1),
                  10      and this case may be removed pursuant to the provisions of 28 U.S.C. section 1441(a),
                  11      in that it is a civil action wherein the amount in controversy for the named plaintiff
                  12      exceeds the sum of seventy-five thousand dollars ($75,000.00), exclusive of interest
                  13      and costs, and it is between “citizens of different States.” As set forth below, this case
                  14      meets all of Section 1332’s requirements for removal and is timely and properly
                  15      removed by the filing of this Notice.
                  16                                              VENUE
                  17            2.     Plaintiff originally brought this action in the Superior Court of the State of
                  18      California, County of Los Angeles. Thus, removal to the Central District of California
                  19      is proper pursuant to 28 U.S.C. §§ 84(c), 1441(a), and 1446(a).
                  20                            PLEADINGS, PROCESS AND ORDERS
                  21            3.     On May 6, 2020, Plaintiff RACHEL BOWENS filed a Complaint in the
                  22      Superior Court of the State of California, County of Los Angeles, styled RACHEL
                  23      BOWENS, an individual; Plaintiff, vs. MODA OPERANDI, INC., an entity form
                  24      unknown; KATHERINE DONNER, an individual; and DOES 1 through 100, inclusive,
                  25      Defendants, bearing Case No. 20STCV17265 (the “Complaint”).               The Complaint
                  26      asserts the following six causes of action: (1) Unlawful Harassment; (2) Disability
                  27      Discrimination; (3) Race Discrimination; (4) Failure to Prevent Discrimination and
                  28      Harassment; (5) Retaliation in Violation of FEHA; (6) Retaliation in Violation of Labor
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                     1    Code §98.6. A true and correct copy of the Complaint is attached hereto as Exhibit
                     2    “A” to the Declaration of Jenny Burke (hereinafter, “Burke Declaration”).
                     3          4.    On May 21, 2020, Defendant Moda was served with the Complaint and
                     4    related service documents including, a copy of the Summons, Civil Case Cover Sheet,
                     5    Notice of Case Assignment, LASC First Amended General Order, and ADR
                     6    Information Packet via personal service of their agents for service of process. A true
                     7    and correct copy of all documents served on Defendant Moda are attached hereto as
                     8    Exhibit “B” to the Burke Declaration.
                     9          5.    On June 15, 2020, Defendant Moda filed its Answer to the Complaint in
                  10      the Superior Court of the County of Los Angeles. A true and correct copy of Defendant
                  11      Moda’s Answer is attached hereto as Exhibit “C” to the Burke Declaration.
                  12            6.    According to the Los Angeles Superior Court Register of Actions for the
                  13      above referenced matter, on May 11, 2020, the Clerk of the Court filed a Notice of Case
                  14      Management Conference and Order to Show Cause Failure to File Proof of Service.
                  15      True and correct copies of the Notice of Case Management Conference and Order to
                  16      Show Cause are attached hereto as Exhibit “D” to the Burke Declaration.
                  17            7.    Pursuant to 28 U.S.C. section 1446(a), the attached exhibits constitute all
                  18      process, pleadings and orders served upon Defendant or filed or received in this action
                  19      by Defendant.
                  20                                TIMELINESS OF REMOVAL
                  21            8.    Plaintiff served the Summons and Complaint via personal service on
                  22      Defendant’s designated agent for service of process on May 21, 2020. Burke Decl. ¶3;
                  23      Declaration of Samira Shah (hereinafter, “Shah Declaration”) ¶2.
                  24            9.    Pursuant to 28 U.S.C. section 1446(b), this Notice of Removal is therefore
                  25      timely filed as it is filed within thirty (30) days after Defendant was served with the
                  26      Summons and Complaint and within one year after commencement of this action.
                  27
                  28
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                     1                                   BASIS FOR REMOVAL
                     2             DIVERSITY JURISDICTION PURSUANT TO SECTION 1332
                     3          10.    Section 1332(a) provides, in relevant part, as follows:
                     4                 The district courts shall have original jurisdiction of all civil
                     5                 actions where the matter in controversy exceeds the sum or value
                     6                 of $75,000, exclusive of interest and costs, and is between –
                     7                 (1)   citizens of different States[.]
                     8          11.    This action is a civil action over which this Court has original jurisdiction
                     9    based on diversity of citizenship pursuant to Section 1332(a), and is one which may be
                  10      removed to this Court by Defendant pursuant to 28 U.S.C. section 1441(b) because it is
                  11      a civil action between citizens of different States and the amount in controversy exceeds
                  12      $75,000, exclusive of interest and costs, as set forth below.
                  13      A.    DIVERSITY OF CITIZENSHIP IS MET
                  14            12.    For diversity purposes, a person is a “citizen” of the State in which he or
                  15      she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir.
                  16      1983). A person’s domicile is the place he or she resides with the intention to remain,
                  17      or to which he or she intends to return. Kanter v. Warner-Lambert Co., 265 F.3d 853,
                  18      857 (9th Cir. 2001). Plaintiff alleges that she is a resident of the City of Los Angeles,
                  19      County of Los Angeles, State of California, which is sufficient to establish that she is a
                  20      California citizen. (Burke, Decl. ¶2, Ex. “A,” Complaint, ¶ 1.) See Lew v. Moss, 797
                  21      F.2d 747, 751 (9th Cir. 1986) (residency can create a rebuttable presumption of domicile
                  22      supporting diversity of citizenship); see also State Farm Mut. Auto Ins. Co. v. Dyer, 19
                  23      F.3d 514, 519-20 (10th Cir. 1994) (allegation by party in state court complaint of
                  24      residency “created a presumption of continuing residence in [that state] and put the
                  25      burden of coming forward with contrary evidence on the party seeking to prove
                  26      otherwise”); see also Smith v. Simmons, 2008 U.S. Dist. LEXIS 21162, *22 (E.D. Cal.
                  27      2008) (place of residence provides “prima facie” case of domicile). Defendant’s
                  28      employment records also confirm that Plaintiff has been domiciled in California since
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                     1    2015.    Her last known address is in Los Angeles, California.            (Shah Decl. ¶6.)
                     2    Accordingly, Plaintiff is a citizen of California for purposes of diversity jurisdiction.
                     3            13.   Defendant was, at the time of filing this action, and still is, a corporation
                     4    incorporated under the laws of Delaware. (Shah Decl. ¶¶4-5.) Defendant’s principal
                     5    place of business is in New York. (Id. at ¶5.) Defendant is therefore not a citizen of
                     6    the State in which this action is pending and is, in fact, a citizen of a different State than
                     7    that of Plaintiff.
                     8            14.   For diversity jurisdiction purposes, a corporation is deemed a citizen of its
                     9    State of incorporation and the State where it has its principal place of business. 28
                  10      U.S.C §1332(c)(1). As clarified by the United States Supreme Court in Hertz Corp. v.
                  11      Friend, 559 U.S. 77, 81; 130 S. Ct. 1181, 1186; (2010), “the phrase ‘principal place of
                  12      business’ [in Section 1332(c)(1)] refers to the place where the corporation’s high level
                  13      officers direct, control, and coordinate the corporation’s activities. Lower federal courts
                  14      have often metaphorically called that place the corporation’s ‘nerve center.’ (Citations
                  15      omitted.) We believe that the ‘nerve center’ will typically be found at a corporation’s
                  16      headquarters.”
                  17              15.   Defendant’s corporate headquarters are located in the State of New York.
                  18      (Shah Decl. ¶ 5.) Most of Defendant’s executive and administrative functions are
                  19      located in the State of New York.          (Id.)   New York is the center of direction,
                  20      coordination, and control for Defendant’s operations. Thus, Defendant’s principal
                  21      places of business is in the State of New York, and it is therefore a citizen of the States
                  22      of Delaware and New York for the purpose of determining diversity of citizenship.
                  23              16.   The Complaint also names as a defendant, “KATHERINE DONNER, an
                  24      individual.” Donner, like Defendant Moda, is a citizen of a different state than Plaintiff.
                  25      Donner, as of the time of the filing of the Complaint, was (and is) domiciled in the State
                  26      of Illinois. (Shah Decl. ¶7.) Donner has not been served with the Complaint. (Shah
                  27      Decl. ¶ 8; Burke Decl. ¶7.) Even if Plaintiff attempted service on Donner, Defendant
                  28      contends that a California court would not have jurisdiction over her. Parties not
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                     1    properly served and un-served parties do not need to be joined to the removal. See,
                     2    Destfino v. Reiswig, 630 F.3d 952, 956 (9th Cir. 2011); Salverson v. W. States Bankcard
                     3    Ass'n, 731 F.2d 1423, 1429 (9th Cir. 1984), superseded by statute on other grounds.
                     4          17.    The Complaint names as defendants “DOES 1 through 100, Inclusive.”
                     5    Pursuant to 28 U.S.C. section 1441(a), however, the citizenship of defendants sued
                     6    under fictitious names must be disregarded for the purpose of determining diversity
                     7    jurisdiction. See Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-91 (9th Cir. 1998).
                     8          18.    As more fully set forth below, the amount in controversy in the Complaint
                     9    exceeds the sum of seventy-five thousand dollars ($75,000.00), exclusive of interest
                  10      and costs.
                  11      B.    THE AMOUNT IN CONTROVERSY REQUIREMENT IS MET
                  12            19.    Defendant only needs to show by a preponderance of the evidence (that it
                  13      is more probable than not) that Plaintiff’s claimed damages exceed the jurisdictional
                  14      minimum. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 403-04 (9th Cir. 1996).
                  15      Here, the Court can reasonably ascertain from Plaintiff’s Complaint and her prayer for
                  16      relief that the amount in controversy exceeds $75,000. See Singer v. State Farm Mutual
                  17      Auto Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997) (“The district court may consider
                  18      whether it is ‘facially apparent’ from the complaint that the jurisdictional amount is in
                  19      controversy.”)
                  20            20.    Plaintiff seeks “lost wages and benefits and other monetary relief,”
                  21      “compensatory damages,” “general and special damages,” and “punitive damages” in
                  22      an amount to be determined at trial, as well as interests and costs and attorneys’ fees.
                  23      (Burke Decl. ¶2, Ex. A, Complaint at p. 15, Prayer for Damages.) Plaintiff alleges she
                  24      has “suffered special damages in the form of lost earnings, benefits and/or out of pocket
                  25      expenses” and “will suffer additional special damages in the form of lost future
                  26      earnings, benefits and/or other prospective damages.”        (Burke Decl. ¶2, Ex. A,
                  27      Complaint at ¶32; See also, ¶¶40, 47, 54, 62, 72.) Plaintiff’s employment ended on
                  28      January 14, 2020. (Burke Decl. ¶2, Ex. A, Complaint at ¶6.) Plaintiff alleges that at the
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                     1    time of her termination she was earning more than $127,000 per year in salary and
                     2    commissions. (Burke Decl. ¶2, Ex. A, Complaint at ¶7.)
                     3          21.    Although Defendant denies Plaintiff is entitled to recover any damages,
                     4    assuming, arguendo, that Plaintiff was awarded her claim for back wages for just one
                     5    year (which would require a trial date in January 2021, which is highly unlikely), the
                     6    amount of back pay in controversy in this case ($127,000) would exceed the
                     7    jurisdictional amount. In addition, to the extent Plaintiff seeks future damages or front
                     8    pay as a result of the alleged wrongs by Defendant, such awards in California often span
                     9    several years. See, Smith v. Brown-Forman Distillers Corp., 196 Cal. App. 3d 503, 518
                  10      (1989) (front pay until mandatory retirement age reached); Rabago-Alvarez v. Dart
                  11      Indus., 55 Cal. App. 3d 91, 92 (1976) (four years); Drzewiecki v. H & R Block, Inc., 24
                  12      Cal. App. 3d 695, 705 (1972) (ten years). Even if Plaintiff were awarded one year of
                  13      front pay, according to Plaintiff’s alleged earnings, the amount of front pay would be
                  14      $127,000. Thus, it may reasonably be estimated that Plaintiff’s claims involve possible
                  15      back pay and front pay damages which alone total in excess of $254,000.
                  16            22.    Plaintiff also seeks emotional distress damages, alleging she has suffered
                  17      “embarrassment, humiliation, mental and emotional pain and distress and discomfort.”
                  18      (Burke Decl. ¶2, Ex. A, Complaint ¶33; See also, e.g., ¶¶41, 48, 55, 63, 73.) Emotional
                  19      distress damages are properly considered when determining the amount in controversy,
                  20      even when a specific amount is not clearly pled in the Complaint. Simmons v. PCR
                  21      Technology 209 F.Supp.2d 1029, 1034. The Court may consider emotional distress
                  22      damages awards in similar cases. Kroske v. U.S. Bank Corp., 432 F.3d 976, 980 (9th
                  23      Cir. 2005). Jury awards of hundreds of thousands of dollars (and more) for non-
                  24      economic damages have been upheld in cases involving allegations of hostile work
                  25      environment, discrimination, and/or retaliation. See, e.g., Velez v. Roche, 335 F. Supp.
                  26      2d 1022, 1038-40 (N.D. Cal. 2004) (surveying discrimination and harassment cases
                  27      awarding emotional distress damages.)
                  28
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                     1          23.      Attorneys’ fee awards in FEHA cases can be sizeable. See, e.g., Beaty v.
                     2    BET Holdings, Inc., 222 F.3d 607 (9th Cir. 2000) (recognizing that award of attorneys’
                     3    fees of $376,520 may be appropriate in FEHA where compensatory damages were only
                     4    $30,000, but remanding to district court to clarify whether court had properly exercised
                     5    its discretion to consider reducing the fee award). Other California courts have upheld
                     6    large attorneys’ fee awards in FEHA cases. See Flannery v. Prentice, 26 Cal. 4th 572
                     7    (2001) (affirming award of attorney’s fees and costs of $891,042); Mangold v.
                     8    California Public Utilities Comm’n, 67 F.3d 1470 (9th Cir. 1995) (affirming $724,380
                     9    attorneys’ fee award in FEHA and ADEA case where plaintiffs’ damages awards were
                  10      significantly less). Attorneys’ fees are properly taken into account in determining the
                  11      amount in controversy. Goldberg v. C.P.C. Int’l, Inc., 678 F. 2d 1365, 1367 (9th Cir.
                  12      1982). Thus, Plaintiff’s demand for attorneys’ fees further increases the amount in
                  13      controversy.
                  14            24.      Moreover, Plaintiff seeks punitive damages. (Burke Decl. ¶2, Ex. A.,
                  15      Complaint at Prayer for Damages, ¶¶35, 42, 49, 57, 64, 74) The Court must take into
                  16      account punitive damages for purposes of determining the amount in controversy where
                  17      such damages are recoverable under state law. Davenport v. Mutual Benefit Health and
                  18      Accident Ass’n, 325 F.2d 785, 787 (9th Cir. 1963). California law does not provide any
                  19      specific monetary limit on the amount of punitive damages that may be awarded under
                  20      Civil Code section 3294. Boyle v. Lorimar Productions, Inc., 13 F.3d 1357, 1360 (9th
                  21      Cir. 1994). Additionally, employment discrimination cases have the potential for large
                  22      punitive damages awards. Simmons, supra, 209 F. Supp. 2d at 1033. In Aucina v.
                  23      Amoco Oil, Co., 871 F. Supp. 332 (S.D. Iowa 1994), the defendant employer established
                  24      that the amount in controversy exceeded the jurisdictional minimum in a discrimination
                  25      and wrongful discharge lawsuit where the former employee asserted claims for lost
                  26      wages, lost benefits, mental anguish, and punitive damages. The court noted that
                  27      “[b]ecause the purpose of punitive damages is to capture a defendant’s attention and
                  28      deter others from similar conduct,” the plaintiff’s claim for punitive damages “might
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                     1    alone” exceed the jurisdictional minimum. Id. at 334. Although Defendant vigorously
                     2    denies Plaintiff’s allegations, including her alleged damages, if Plaintiff were to prevail
                     3    on her punitive damages claim, that claim alone could exceed the jurisdictional
                     4    minimum.
                     5          25.    In sum, although Defendant does not concede Plaintiff’s claims have any
                     6    merit, Plaintiff’s Complaint makes certain that the amount in controversy for Plaintiff’s
                     7    claims more likely than not exceeds the $75,000 jurisdiction requirement, exclusive of
                     8    interest and costs. Thus, this Court has original jurisdiction over the claims asserted by
                     9    Plaintiff in this action based on diversity of citizenship jurisdiction under 28 U.S.C. §§
                  10      1332(a)(1) and 1441(a).
                  11                           NOTICE TO STATE COURT AND PLAINTIFF
                  12            26.    Contemporaneous with the filing of this Notice of Removal in the United
                  13      States District Court for the Central District of California, written notice of such filing
                  14      will be given to Plaintiff’s counsel, Dominic J. Messiha, Esq., Law Office of Dominic
                  15      J. Messiha, P.C. In addition, a copy of this Notice of Removal will be filed with the
                  16      Clerk of the Superior Court of the State of California for the County of Los Angeles.
                  17            WHEREFORE, Defendant prays that the Court remove this civil action from the
                  18      Superior Court of the State of California, County of Los Angeles, to the United States
                  19      District Court for the Central District of California.
                  20
                  21
                          Dated: June 18, 2020
                  22
                  23                                                  ______________________________
                  24                                                   JENNY BURKE
                                                                       LITTLER MENDELSON, P.C.
                  25                                                   Attorneys for Defendants,
                  26                                                   MODA OPERANDI, INC.

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                     1                                           PROOF OF SERVICE
                     2                                   STATE OF NEVADA, COUNTY OF CLARK
                     3             I am employed in the County of Clark, State of Nevada. I am over the age of 18
                     4    and not a party to the within action; my business address is 3960 Howard Hughes
                     5    Parkway, Suite 300, Las Vegas, NV 89169.
                     6
                                   On June 18, 2020, I served the foregoing document(s) described as
                     7

                     8         NOTICE OF REMOVAL OF CIVIL ACTION FROM LOS ANGELES
                          COUNTY SUPERIOR COURT PURSUANT TO 28 U.S.C. SECTIONS
                     9    1332(A)(1), 1441, AND 1446 [DIVERSITY JURISDICTION]
                   10
                                   on the interested parties in this action addressed as follows:
                   11
                           Dominic J. Messiha
                   12      Law Office of Dominic J. Messiha, PC
                           11601 Wilshire Blvd., Suite 500
                   13      Los Angeles, California 90025
                           Dominic@messihalegal.com
                   14

                   15                       BY ELECTRONIC SERVICE: I caused the above-entitled document to
                   16                        be served by U.S.D.C. electronic service via CM/ECF addressed to all
                                             parties as described above.
                   17

                   18
                                   I declare under penalty of perjury under the laws of the State of California and
                   19
                          the United States of America that the above is true and correct. Executed on June 18,
                   20
                          2020, at Las Vegas, Nevada.
                   21

                   22

                   23                                                 /s/ Jacquelin Ierien
                                                                      Jacquelin Ierien
                   24

                   25
                          4834-8804-9855.2 108046.1001
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